             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 1 of 39




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY,
378 N. Main Avenue
Tucson, AZ 85701;

DEFENDERS OF WILDLIFE,
1130 17th Street, N.W.
Washington, D.C. 20036;                               Case No.: __________________

ANIMAL LEGAL DEFENSE FUND,
525 E. Cotati Ave.
Cotati, CA 94931;

               Plaintiffs,
v.

DONALD J. TRUMP,
in his official capacity as President of the United
States
1600 Pennsylvania Avenue, N.W.
Washington, D.C. 20500;

PATRICK M. SHANAHAN,
in his official capacity as acting Secretary of
Defense
1000 Defense Pentagon
Washington, D.C. 20301;

STEVEN MNUCHIN,
In his official capacity as Secretary of the
Department of Treasury,
1500 Pennsylvania Avenue, NW,
Washington, D.C. 20220;

KIRSTJEN M. NIELSEN,
in her official capacity as Homeland Security
Secretary
245 Murray Lane, S.W.
Washington, D.C. 20528;

DAVID BERNHARDT,
in his official capacity as acting Secretary of the
Interior
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 2 of 39



1849 C Street, N.W.
Washington, D.C. 20240;

               Defendants.


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                       INTRODUCTION

       1.      On February 15, 2019, President Donald J. Trump issued a “Presidential

Proclamation on Declaring a National Emergency Concerning the Southern Border of the United

States,” (hereafter referred to as “emergency proclamation”) pursuant to the purported authority

of the National Emergencies Act (“NEA”), 50 U.S.C. § 1601 et seq. Under the emergency

proclamation, the President directed the Secretary of Defense and the Secretary of Homeland

Security to undertake specific acts in furtherance of border wall construction. The President

further directed the reallocation of up to $601 million from the Treasury Forfeiture Fund, $3.6

billion in unspent funds appropriated for military construction projects, as well as up to $2.5

billion in unspent funds appropriated for support for counterdrug activity support, towards border

wall construction. See White House Press Office: “President Donald J. Trump’s Border Security

Victory” (Feb. 15, 2019).1

       2.      Though “emergency” is not defined under the NEA, its common usage typically

involves elements of suddenness and surprise. Emergencies generally require an urgent

response. The present situation sharply departs from both of these generalities. Here, the

President first declared his intent to invoke the NEA nearly two months prior to making the

proclamation. During the intervening time, he indicated his “absolute” right to declare an



1
  Plaintiffs use the terms “border wall,” border fence,” and “border barrier” interchangeably.
Regardless of construction method (steel bollard is currently the most commonly utilized), these
large structures have far reaching environmental impacts.


                                                 2
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 3 of 39



emergency, waffled as to whether he would exercise the authority, and repeatedly stated his

intent to use an emergency proclamation should Congress continue to refuse to meet his $5.7

billion funding demand for a southern border wall. When the President finally did announce his

emergency proclamation in the White House Rose Garden, he concluded that “I could do the

wall over a longer period of time. I didn’t need to do this [but] I’d rather do it much faster.”

       3.      Including recently enacted appropriations, the administration “has so far identified

up to $8.1 billion that will be available to build the border wall once a national emergency is

declared and additional funds have been reprogrammed”—far more than the $5.7 billion amount

previously requested by the administration. See White House Press Office: “President Donald J.

Trump’s Border Security Victory.”

       4.      Of the 58 times presidents have previously declared emergencies under the

National Emergencies Act, none involved using the emergency powers to fund a policy goal

after a president failed to meet that goal through foreign diplomacy (having Mexico pay for the

wall) or the congressional appropriations process. Never before has a president used the

emergency powers granted to him by Congress in such a manner.

       5.      Even under a validly declared emergency, the President must identify any

available existing statutory authority triggered by that proclamation which would authorize the

reprogramming of previously appropriated funds. The National Emergencies Act does not

permit a president to take any action, but instead unlocks a president’s ability to invoke specific

and existing emergency statutory authorities. The President has failed to identify such statutory

authority and Congress has not enacted any emergency legislation even remotely related to

border wall construction, and thus the President’s reallocation of funds is unlawful.




                                                  3
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 4 of 39



        6.      The President’s efforts to re-direct federal moneys set aside for combatting

organized crime, 31 U.S.C. § 9705, military construction, 10 U.S.C. § 2808, and counterdrug

support activities, 10 U.S.C. § 284, are squarely inconsistent with the plain language and broader

statutory context of these provisions, and should be vacated and reversed. The southern border

wall cannot—under any reasonable interpretation—be considered eligible for emergency

redirection of funds appropriated by Congress for other purposes.

        7.      By unlawfully redirecting moneys from organized crime investigations, military

construction, and counterdrug support appropriations to border wall construction, the emergency

proclamation also exceeds President Trump’s constitutional authority by usurping Congress’s

Article I Appropriation powers, Art. I, § 9, and by violating the President’s obligation to “take

care that the Laws be faithfully executed.” Art. II, § 3.

        8.      The emergency proclamation is unlawful on its face. Implementation of the

emergency proclamation, agency actions taken or directed to be taken under the proclamation,

and the expenditure of funds to construct a border wall pursuant to that proclamation should be

enjoined. Of particular concern to Plaintiffs and their members, border barriers prevent the

passage of wildlife, and could result in the extirpation of jaguars, ocelots, and other endangered

species within the United States. The use of funds for such barriers that on information and

belief are directed at least in part to investigating and where relevant prosecuting organized

criminal activities related to illegal wildlife trafficking further harms Plaintiffs’ interests in

protecting and preserving biological diversity.

                                  JURISDICTION AND VENUE

        9.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and can

grant declaratory relief pursuant to 28 U.S.C. §§ 2201-2202.




                                                   4
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 5 of 39



       10.     Venue properly vests in this Court pursuant to 28 U.S.C. § 1391(b) and (e),

because the violations are occurring in this district, Defendants reside in this district, and a

substantial part of the events or omissions giving rise to the claims have occurred in this district

due to decisions made by the Defendants.

                                             PARTIES

       11.     Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (“the Center”) is a non-

profit conservation organization with more than 1.4 million members and online activists

dedicated to the protection of endangered species and wild places. The Center is headquartered

in Tucson, Arizona, with offices in Washington, D.C. and numerous other locations throughout

the country, and an office in Baja California Sur, Mexico.

       12.     The Center has worked for more than two decades to oppose environmentally

harmful border fencing and other injurious border security projects along the U.S.-Mexico border

generally, and within the specific Border Patrol sectors (San Diego, Calexico, Yuma, El Paso,

Laredo, and Rio Grande Valley) impacted by the emergency proclamation specifically. The

Center also has a long history of advocating for the protection of rare wildlife habitat and

specific species that would be impacted by the emergency proclamation, including jaguar, ocelot,

peninsular bighorn sheep, Sonoran pronghorn, Mexican gray wolf, Quino checkerspot butterfly,

and coastal California gnatcatcher, and is directly responsible for the protection of numerous

borderland species and their critical habitats under the Endangered Species Act. Center members

Laiken Jordan and Michael Robinson enjoy observing wildlife and their habitat in borderlands

areas that will be negatively affected by border wall construction. Additionally, the Center

works to combat wildlife trafficking—the fourth largest criminal activity worldwide— and the

threats it poses to biological diversity preservation.




                                                   5
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 6 of 39



       13.     Plaintiff DEFENDERS OF WILDLIFE (“Defenders”) is a nonprofit organization

with nearly 1.8 million members and supporters across the nation, including more than 3,600

members in New Mexico. Defenders’ mission is to preserve wildlife and emphasize appreciation

and protection for all species in their ecological role. Through advocacy, litigation, and other

efforts, Defenders works to preserve species and the habitats upon which they depend.

Defenders has been closely involved in policy and litigation matters associated with border wall

construction along the United States-Mexico border for more than a decade. Defenders has field

offices across the country, including in Santa Fe, New Mexico.

       14.     Plaintiff ANIMAL LEGAL DEFENSE FUND (“ALDF”) is a nonprofit 501(c)(3)

organization with more than 200,000 members and supporters, including thousands of whom live

in states located on the U.S.-Mexico border, and at least hundreds of whom live in towns that are

located in close proximity to border areas at issue. This includes Elizabeth Walsh, who resides

in El Paso, Texas near Sunland Park, New Mexico near the United States-Mexico border. Ms.

Walsh has been a member of ALDF since at least 2012. She routinely visits the border areas that

will be impacted by the emergency proclamation for professional and recreational purposes.

Similarly, ALDF member Robert Knaier resides in San Diego County, California and regularly

visits the border area in California for recreational purposes. ALDF represents its members

interests by working to protect the lives of animals, including wildlife, through the legal system.

This includes prior litigation challenging unlawful attempts to waive environmental and animal

protection laws to facilitate border construction. ALDF is headquartered on Cotati, California.

       15.     Plaintiffs have organizational and membership-based interests in the preservation

and conservation of specific areas of the U.S.-Mexico borderlands that have been declared a

national emergency zone under the President’s February 15, 2019 proclamation. Plaintiffs and




                                                 6
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 7 of 39



their members are harmed by the emergency proclamation, the invocation of emergency powers

arising from the proclamation, the agency actions taken or directed under the declaration, and the

unlawful reallocation of previously appropriated funds to border wall construction. Plaintiffs’

members and staff live in or regularly visit the U.S.-Mexico borderlands region, including

specific areas within the San Diego, Calexico, Yuma, El Paso, Laredo, and Rio Grande Border

Patrol sectors that will be impacted by the emergency proclamation. These specific areas include

numerous areas of federal, state, and local protected borderlands, including but not limited to

Cleveland National Forest, Cabeza Prieta National Wildlife Refuge, Coronado National Forest,

Lower Rio Grande Valley National Wildlife Refuge, and lands administered by the U.S. Bureau

of Land Management. Plaintiffs’ staff and members use these specific borderland areas for

hiking, camping, viewing and studying wildlife, photography, and other scientific, vocational

and recreational activities, and have specific intentions to continue to use and enjoy these areas

frequently and on an ongoing basis in the future. Border wall construction, and associated

actions including stripping all vegetation within a 150-foot enforcement zone, road construction,

and high-intensity lighting, would harm Plaintiffs’ members and these protected interests in

numerous ways. These harms would include immediate impacts, such as precluding future

visitation of impacted areas, destroying wildlife habitat, and killing individual wildlife species.

Border wall construction would also result in longer term harm, by blocking connectivity

between wildlife populations in U.S. and Mexico, harming the long term viability of those

species, and in some cases, resulting in their extirpation from the United States. These harms go

to Plaintiffs’ central organizational purposes.

       16.     Plaintiffs further work to combat wildlife trafficking because illegal poaching,

trafficking, and sales or possession of wildlife species is the second greatest threat to biological




                                                  7
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 8 of 39



diversity. The diversion of funds that would otherwise be used to combat organized crime—

including wildlife trafficking—to border wall construction harms Plaintiffs’ efforts to reduce

such trafficking. This diversion of funds will both force Plaintiffs to spend additional

organizational resources on combatting wildlife trafficking and raising awareness about it. It

also harms Plaintiffs and their members’ interests in observing, enjoying, and protecting

frequently trafficked species and the intact ecosystems in which they reside.

       17.     Defendant DONALD J. TRUMP, President of the United States, is sued in his

official capacity. President Trump issued the emergency proclamation on February 15, 2019.

       18.     Defendant PATRICK M. SHANAHAN, Acting Secretary of Defense, is sued in

his official capacity. The February 15, 2019 emergency proclamation instructs the Defense

Secretary to “take all appropriate actions” in support of the proclamation’s directives, including

taking action to reallocate military construction and counterdrug operations appropriated funds to

border wall construction.

       19.     Defendant STEVEN MNUCHIN, Department of Treasury Secretary, is sued in

his official capacity. The Department of Treasury through its Treasury Executive Office for

Asset Forfeiture administers the Treasury Forfeiture Fund. The President has directed the

reprogramming of $601 million from the Treasury Forfeiture Fund for border wall construction.

       20.     Defendant KIRSTJEN M. NIELSEN, Homeland Security Secretary, is sued in her

official capacity. The February 15, 2019 emergency proclamation instructs the Homeland

Secretary to “take all appropriate actions” in support of the proclamation’s directives.

       21.     Defendant DAVID BERNHARDT, Acting Secretary of the Interior, is sued in his

official capacity. The February 15, 2019 emergency proclamation instructs the Interior Secretary

to “take all appropriate actions” in support of the proclamation’s directives.




                                                 8
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 9 of 39



                                       LEGAL BACKGROUND

       A.      The National Emergencies Act

       22.     The President’s statutory authority to declare a national emergency is governed by

the 1976 National Emergencies Act (“NEA”). 50 U.S.C. § 1601 et seq. The Act was designed

to limit presidential power and reclaim authority that had been delegated from the legislative

branch. See Jules Lobel, Emergency Power and the Decline of Liberalism, 98 Yale L.J. 1385,

1412 (1989) (stating that NEA responded to “the twin disasters of Vietnam and Watergate” and

the sense that “the pendulum had swung too far” in favor of the growth of executive power).

       23.     The enactment of the NEA terminated all existing states of emergency and

established a uniform procedural framework for the future exercise of such powers. In addition,

the NEA established other mechanisms intended to better ensure presidential accountability by

establishing reporting and other requirements.

       24.     A proclamation issued under the NEA triggers the President’s authority to invoke

existing Acts of Congress which authorize “the exercise, during the period of a national

emergency, of any special or extraordinary power.” 50 U.S.C. § 1621(a); id. § 1631 (“When the

President declares a national emergency, no powers or authorities made available by statute for

use in the event of an emergency shall be exercised unless and until the President specifies the

provisions of law under which he proposes that he, or other officers will act.”).

       25.     Accordingly, the scope of the President’s emergency powers is limited to

legislative enactments under which Congress has specifically granted those powers in advance.

       26.     An emergency proclamation “shall immediately be transmitted to the Congress

and published in the Federal Register.” Id. § 1621(a).

       27.     The NEA does not define the term “emergency.”




                                                 9
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 10 of 39



       28.     The common usage of the term “emergency” involves an element of suddenness

and unexpectedness. Merriam-Webster, for example, states that an emergency is “an unforeseen

combination of circumstances or the resulting state that calls for immediate action.” Similarly,

Black’s Law Dictionary defines the word as a “sudden, unexpected, or impending situation.”

       29.     NEA’s legislative history shows that the emergency power conferred by Congress

is not boundless. In testimony before the Committee on Government Operations on February 25,

1976, co-sponsor Senator Frank Church stated that “Congress should be forewarned that it is

inherent in the nature of modern government that the Executive will seek to enlarge its power in

small ways and large,” and advised that the president “should not be allowed to invoke

emergency authorities or in any way utilize the provision of [the NEA] for frivolous or partisan

matters, nor for that matter in cases where important but not ‘essential’ problems are at stake.”

       30.     There are currently an estimated 123 statutory authorities that may be invoked by

an emergency proclamation under the NEA. See Brennan Center for Justice, “A Guide to

Emergency Powers and Their Use.” These provisions address disparate issues including public

health; land management; military and national defense; federal employees; asset seizure,

control, and transfer; criminal prosecution and detainment powers; and international relations.

       31.     The NEA has been invoked at least 58 times from 1978-2012. Nearly all of the

declared emergencies (49 instances) relate to sanctions or export restrictions. Four emergencies

relate to weapons proliferation. The remaining five emergencies did not fit into any specific

category and involved the 2009 swine flu outbreak, the September 11 terrorist attacks, vessel

movement near Cuba, rough diamonds from Sierra Leone, and sale of Iraq petroleum.

       32.     None of the 123 emergency statutory authorities that may be invoked under an

NEA proclamation address immigration or border wall construction.




                                                10
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 11 of 39



       B.       Title 8 (Immigration), the Immigration and Naturalization Act, and the
                “Mass Influx” and “Emergency Situation Refugees” Provisions

       33.      Congress has not established any National Emergency Act authorities under Title

8 (Immigration) of the United States Code.

       34.      The Immigration and Naturalization Act (“INA”), 8 U.S.C. § 1101 et seq.,

“established a comprehensive federal statutory scheme for regulation of immigration and

naturalization and set the terms and conditions of admission to the country and subsequent

treatment of aliens lawfully in the country.” Chamber of Commerce v. Whiting, 563 U.S. 582,

587 (2011).

       35.      While the INA does not contain any emergency provision triggered by the NEA,

Congress did specifically consider the urgency of “an actual or imminent mass influx of aliens

arriving off the coast of the United States, or near a land border.” 8 U.S.C. § 1103(a)(10). In

such a circumstance, the INA does not contemplate a military response, but instead authorizes

the Attorney General to deputize any State or local law enforcement officer with the authority to

perform federal immigration duties.

       36.      The INA also addresses emergency refugee situations. 8 U.S.C. § 1157. In such

a circumstance, the INA again does not contemplate a military response, but instead allows the

President to grant admissions beyond the maximum established by Congress in order to address

humanitarian concerns, and directs the President to consult with Congress and the Cabinet.

       C.       DHS’s Statutory Responsibility for Border Security and Border Fencing

       37.      The Department of Homeland Security (“DHS”) and its component agency U.S.

Customs and Border Protection (“CBP”) are domestic agencies charged with preventing the

entry of terrorists, securing the borders, and carrying out immigration functions. Within CBP,

the U.S. Border Patrol’s mission is to prevent illegal entry across approximately 7,000 miles of



                                                11
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 12 of 39



Mexican and Canadian international borders and 2,000 miles of coastal borders surrounding

Florida and Puerto Rico.

       38.     Beginning with enactment of the Illegal Immigration Reform and Immigrant

Responsibility Act of 1996 (“IIRIRA”), P.L. 104-208, 8 U.S.C. § 1103 note, Congress has

periodically directed DHS to build fencing on the southern border.

       39.     As originally enacted, section 102(b) of IIRIRA required the completion of a

triple-layer fence along a 14-mile stretch of border fencing in the San Diego sector where

construction had begun in the early 1990s.

       40.     The Secure Fence Act of 2006, P.L. 109-367 (October 26, 2006) amended section

102(b) of IIRIRA to require DHS to construct at least two layers of reinforced fencing as well as

physical barriers, roads, lighting, cameras, and sensors on five specific sections of the southern

border totaling approximately 850 miles.

       41.     Shortly thereafter, the DHS Appropriations Act, 2008, P.L. 110-161 (December

26, 2007) again amended section 102(b) of IIRIRA by removing the specific location and

double-layer fencing requirements, and instead directing DHS to construct not less than 700

miles of reinforced fencing where fencing would be most practical and effective.

       D.      Military Support for Civilian Law Enforcement Agencies (Title 10, Chapter
               15)

       42.     The principle that the military cannot act as a domestic police force is deeply

rooted in U.S. history and law. Under the Posse Comitatus Act, 18 U.S.C. § 1385, enacted in

1878, the use of “any part of the Army or Air Force as a posse comitatus (i.e., deputized by

civilian law enforcement officials to carry out the law) [is] a felony, except in cases of and under

circumstances expressly authorized by the Constitution or an act of Congress.” The law’s reach

was subsequently extended to the Marines and Navy.



                                                 12
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 13 of 39



       43.     Beginning in the early 1980s, Congress passed several Defense Authorization

Acts that relaxed Posse Comitatus Act prohibitions by authorizing the use of military in specified

domestic law enforcement activities. These provisions are codified under a new chapter of the

U.S. Code (Title 10, Chapter 15, “Military Support for Civilian Law Enforcement Agencies.”).

       44.     Under Chapter 15, Congress has not given the military emergency authority to

assist in border wall construction or any other border security or immigration related task.

       45.     Chapter 15 does authorize the military to, in a non-emergency situation, share

information, 10 U.S.C. § 271; allow use of military equipment and facilities, id. § 272; train and

advise civilian law enforcement officials, id. § 273; and maintain and operate equipment, id. §

274. In addition, the military may provide various types of support for counterdrug activities and

activities to counter transnational organized crime. Id. § 284. This support includes the

“[c]onstruction of roads and fences and installation of lighting to block drug smuggling corridors

across international boundaries of the United States.” Id. § 284(b)(7).

       46.     The non-emergency military support authorized under Chapter 15 can only be

provided to domestic law enforcement agencies subject to several prior conditions. Such

support, for example, may not be provided if it will adversely affect military preparedness. Id. §

276. In addition, the civilian law enforcement agency must normally reimburse Department of

Defense for the costs of its support. Id. § 277.

       47.     Congress has specifically limited the military’s support of domestic law

enforcement agencies in emergencies to circumstances involving weapons of mass destruction,

id. § 282, and situations involving bombings of places of public use, Government facilities,

public transportation systems, and infrastructure facilities. Id. § 283. These emergency support

provisions are subject to detailed procedures, and limited to situations that pose a serious threat




                                                   13
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 14 of 39



to the interests of the United States and involve violence causing or imminently threatening

significant loss of civilian lives.

        E.      Military Construction (Title 10, Chapter 169)

        48.     Military construction appropriations are provided in the annual Military

Construction, Veterans Affairs, and Related Appropriations Act. These appropriations fund

military construction for the active and reserve components, as well as military family housing,

U.S. contributions to NATO, and BRAC actions.

        49.     Military construction activities have no relation to border wall construction and

other support of DHS and other civilian law enforcement agencies, which are addressed under

Title 10, Chapter 15.

        50.     The Trump administration previously objected that the Department of Defense

fiscal year 2019 appropriations bill, signed into law September 2018, provided $8.1 billion for

military construction rather than the $8.9 billion requested by the administration. See July 18,

2018 letter to Senate Appropriations Comm. (“By incrementally funding, rather than fully

funding, military construction projects, the bill delays critical resources to complete high-priority

projects initiated in 2019 and puts the burden on future budgets to make up the difference.”).

        51.     Congress has provided for an NEA emergency for military construction projects.

10 U.S.C. § 2808 provides:

        In the event of a proclamation of war or the proclamation by the President of a
        national emergency in accordance with the National Emergencies Act (50 U.S.C.
        1601 et seq.) that requires use of the armed forces, the Secretary of Defense,
        without regard to any other provision of law, may undertake military construction
        projects, and may authorize the Secretaries of the military departments to
        undertake military construction projects, not otherwise authorized by law that are
        necessary to support such use of the armed forces. Such projects may be
        undertaken only within the total amount of funds that have been appropriated for
        military construction, including funds appropriated for family housing, that have
        not been obligated.



                                                 14
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 15 of 39




        F.      The Treasury Forfeiture Fund

        52.     The Treasure Forfeiture Fund is the receipt account for the deposit of non-tax

forfeitures as a result of laws enforced or administered by participating federal agencies, namely

Internal Revenue Service Criminal Investigations Division of the Department of the Treasury;

U.S. Immigration and Customs Enforcement of the Department of Homeland Security; U.S.

Customs and Border Protection of the Department of Homeland Security; U.S. Secret Service of

the Department of Homeland Security; and U.S. Coast Guard of the Department of Homeland

Security.

        53.     The Treasury Forfeiture Fund contains no provision providing for the declaration

of war or national emergency. 31 U.S.C. § 9705.

        54.     Instead, it provides funds that are earmarked by law for specific purposes as

delineated in the statute.

        55.     These delineations include funding for: “proper expenses of seizure;” payment of

services (such as to contractors or reimbursing States); awards to informers; satisfaction of liens;

“[p]ayment of amounts authorized by law with respect to remission and mitigation;” payment of

certain claims; equitable sharing payments to States and others; State or local law enforcement

costs; and payments for the seizure and forfeiture program. Id. § 9705(a)(1).

        56.     The Secretary also has discretion under the Act to fund: “payment of awards for

information or assistance” leading to forfeiture; purchases of evidence; publicizing awards;

“payment for equipment for any vessel, vehicle, or aircraft” for Treasury law enforcement

agencies or for coordinating State or local law enforcement entities; settlement of Custom

Service claims; and expenses of private collaborators; and trainings on seizures and forfeitures.

Id. § 9705(a)(2).



                                                 15
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 16 of 39



        57.     The goal for these funds is to prosecute organized crime and specifically bring

seizure and forfeiture cases are intended to generate funds to bring more such cases with the

ultimate goal of disrupting and dismantling criminal enterprises.

        58.     Examples of recent prosecutions include: “Rabobank agreed to forfeit

$398,701,259 as a result of allowing illicit funds to be processed through the bank without

adequate Bank Secrecy Act (BSA) or AML review;” a New York man forfeited $1,624,172 as a

result of a biodiesel fraud scheme; and a St. Paul man forfeited $1,612,451 after defrauding the

Hmong community.2

        59.     On information and belief, the funds are also used to combat wildlife related

crimes such as trafficking, illegal fishing, and the like.

        60.     The fund is generated by forfeitures made by the Internal Revenue Service

Criminal Investigation division, U.S. Immigration and Customs Enforcement, CBP, and the U.S.

Secret Service.

        61.     The funds are shared among specified federal agencies but also with the Coast

Guard, 31 U.S.C. § 9705(c), and some funds are allocated to State, local, and foreign authorities

for joint investigations and prosecutions. Id. § 9705(a)(1)(B)(iii), (a)(1)(G), (c)(2)(B).

                              CONSTITUTIONAL BACKGROUND

        A.        The Appropriations Clause

        62.     Article I, § 9, cl. 7 provides that “no Money shall be drawn from the Treasury, but

in Consequence of Appropriations made by Law.”

        63.     The Appropriations Clause plays a critical role in the Constitution’s separation of

powers among the three branches of government and the checks and balances between them.


2
 https://www.treasury.gov/about/organizational-structure/ig/Audit%20Reports%20and%20Testimonies/OIG-19-
022.pdf


                                                   16
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 17 of 39



        64.     The Clause has a “fundamental and comprehensive purpose … to assure that

public funds will be spent according to the letter of the difficult judgments reached by Congress

as to the common good and not according to the individual flavor of Government agents.” Office

of Pers. Mgmt. v. Richmond, 496 U.S. 414, 427-28 (1990); id. at 427 (without the Appropriations

Clause, “the executive would possess an unbounded power over the public purse of the nation;

and might apply all its moneyed resources at his pleasure.”) (quoting 2 J. Story, Commentaries

on the Constitution of the United States § 1348 (3d ed. 1858)).

        65.     If a Court finds that the executive branch is spending money in violation of a

spending provision, “it would be drawing funds from the Treasury without authorization by

statute and thus violating the Appropriations Clause.” United States v. McIntosh, 833 F.3d 1163,

1175 (9th Cir. 2016).

        B.      Take Care Clause

        66.     The President “shall take Care that the Laws be faithfully executed … .” U.S.

Const., Article II, § 3.

        67.     The Take Care Clause places an obligation on the President and those under his

supervision to comply with and execute clear statutory directives as enacted by Congress.

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952) (“[T]he President’s power to

see that the laws are faithfully executed refutes the idea that he is to be a lawmaker. The

Constitution limits his functions in the lawmaking process to the recommending of laws he

thinks wise and the vetoing of laws he thinks bad.”).

        68.     Under the Take Care Clause, the President and his subordinates may not create

law by disregarding or repealing a validly enacted statute. See Clinton v. City of New York, 524




                                                17
                Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 18 of 39



U.S. 417, 488 (1998) (“There is no provision in the Constitution that authorizes the President to

enact, to amend, or the repeal statutes.”).

                                       FACTUAL ALLEGATIONS

          69.      On June 16, 2015, in a campaign announcement speech, then Mr. Donald Trump

stated:

          I would build a great wall. And nobody builds walls better than me, believe me.
          And I’ll build them very inexpensively. I will build a great great wall on our
          southern border and I’ll have Mexico pay for that wall.

          70.      On January 25, 2019, at the end of the longest government shutdown, President

Trump stated:

          We really have no choice but to build a powerful wall or steel barrier. If we don’t
          get a fair deal from Congress, the government will either shut down on February
          15 again or I will use the powers afforded to me under the laws and the
          Constitution of the United States to address this emergency.

          71.      On February 15, 2019, in announcing the issuance of an emergency proclamation,

President Trump said:

                So we have a chance at getting close to $8 billion—whether its $8 billion
                or $2 billion or $1.5 billion, it’s going to build a lot of wall. We’re getting
                it done.

          A.       The February 15, 2019 Emergency Proclamation

          72.      On February 15, 2019, President Trump issued a “Presidential Proclamation on

Declaring a National Emergency Concerning the Southern Border of the United States.”

          73.      The proclamation declares the “current situation at the southern border,”

including “large-scale unlawful migration” and “sharp increases in the number of family units

entering and seeking entry to the United States,” as a “national emergency,” and states that

“[b]ecause of the gravity of the current emergency situation, it is necessary for the Armed

Services to provide additional support to address the crisis.”



                                                      18
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 19 of 39



       74.     Relying on the NEA, the proclamation invokes the emergency military

construction authority provided under 10 U.S.C. § 2808 (“the construction authority provided in

section 2808 of title 10, United States Code, is invoked and made available, according to its

terms, to the Secretary of Defense and, at the discretion of the Secretary of Defense, to the

Secretaries of the military departments.”).

       75.     Section 2 of the proclamation directs that the Defense Secretary (as well as the

DHS Secretary and Secretary of the Interior) “shall take all appropriate actions, consistent with

applicable law, to use or support the use of the authorities herein invoked, including, if

necessary, the transfer and jurisdiction over border lands.”

       76.     According to the administration, the emergency proclamation makes

approximately $6 billion in funds that have been appropriated by Congress to other purposes to

instead be directed to border wall construction. These funds include $601 million from the

Treasury Forfeiture Fund, $2.5 billion from counterdrug support funds, and $3.6 from military

construction projects.

       B.      The Nation’s Longest Government Shutdown, and the President’s Abuse of
               the National Emergencies Act as a Negotiating Tactic

       77.     President Trump first raised the specter of an emergency proclamation on January

4, 2019, two weeks into the nation’s longest federal shutdown, which began at midnight on

December 21, 2018, and which would continue until January 25, 2019.

       78.     The shutdown was the culmination of months of disagreement between the

President and Congress over the administration’s $5.7 billion demand for a border wall, and was

the central dispute in the final, “lame duck” days of the 115th Congress.

       79.     On December 11, 2018, President Trump met with House Minority Leader

(Speaker to be) Nancy Pelosi and Senate Minority Leader Chuck Schumer, and on live television



                                                 19
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 20 of 39



proclaimed “I am proud to shut down the government for border security. I will take the mantle.

I will be the one to shut it down.” The President had made numerous earlier statements

suggesting he would relish shutting down the government if Congress did not meet his precise

funding demands. See, e.g., July 30, 2018 (“I have no problem doing a shutdown”); September

12, 2018 (“If it happens, it happens”).

       80.     On December 19, 2018, the Senate passed a continuing resolution providing

funding to DHS and other agencies (Agriculture, Commerce, Justice, the Interior, State,

Transportation, and Housing and Urban Development), until February 8, 2019, without border

wall funding, with the understanding that President Trump supported the bill.

       81.     On December 20, 2018 (one day before government funding for DHS and the

other agencies lapsed), after President Trump was attacked by conservative TV pundits and the

House Freedom Caucus, the President flipped his position and announced he would not sign the

Senate bill because it did not have any border wall funding. That afternoon, House Republicans

passed a continuing resolution with $5.7 billion in border wall funds.

       82.     On December 21, 2018, President Trump encouraged Senator McConnell to

abolish the filibuster in order to pass the $5.7 billion spending bill in the Senate. Acknowledging

that this would not occur, President Trump mused that there was a “very good” chance of a

government shutdown and that it could last a “very long time.” As the President predicted, the

Senate voted down the House version of the bill and the government shut down at midnight.

       83.     Two weeks later, on January 4, 2019, President Trump for the first time publicly

voiced his perceived authority to use the National Emergencies Act for emergency border wall

funding.




                                                20
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 21 of 39



       84.     Between that date and the February 15, 2019, emergency proclamation, the

President repeatedly and clearly stated his belief that the NEA could be used as a negotiating

tactic with Congress. During this time, the President also vacillated on his ultimate intention to

declare an emergency.

       85.     On January 9, 2019, President Trump stated that “I have an absolute right to do

national emergency if I want,” and revealed that his “threshold” for invoking the emergency

would be if he “can’t make a deal with people that are unreasonable.”

       86.     On January 10, 2019, the President said that he was “maybe, definitely” planning

on invoking an emergency proclamation to build the border wall. President Trump explained

that working with Democrats in Congress was “ridiculous” and that “[i]f we don’t make a deal, I

would say 100 percent, but I don’t want to say 100 percent,” and that “[i]f we don’t make a deal,

I would say it would be very surprising to me that I would not declare a national emergency and

just fund it through the various mechanisms.”

       87.     On January 11, 2019, the President denied intent to immediately declare an

emergency under the NEA, stating that “what we’re not looking to do right now is national

emergency.”

       88.     On January 25, 2019, President Trump and Congress reached an agreement to end

the 35-day partial federal shutdown, providing funding for the affected agencies including DHS

for three weeks, through February 15, 2019.

       89.     In his January 25 speech announcing the temporary deal to end the shutdown, the

President again threatened use of the NEA as a negotiating tactic, stating “[w]e really have no

choice but to build a powerful wall or steel barrier. If we don’t get a fair deal from Congress, the




                                                21
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 22 of 39



government will either shut down on February 15 again or I will use the powers afforded to me

under the laws and the Constitution of the United States to address this emergency.”

       90.     On January 29, 2019, Undersecretary of Defense for Policy John Rood testified to

the House Armed Services Committee that if President Trump declared an emergency and

directed the Pentagon to act, that the military would build the wall “if we judged it to be a lawful

order. And I assume it would be.”

       91.     On January 31, 2019, President Trump stated that “we’ve set the stage for what’s

going to happen on February 15 [i.e. an emergency proclamation] if a deal is not made.”

       92.     On February 1, 2019, the President that “I think there’s a good chance that we’ll

have to do” an emergency proclamation, while noting “tremendous obstruction by Democrats.”

       93.     The President would continue to threaten use of the NEA until issuing the

emergency proclamation on February 15, 2019. At the press conference on February 15, 2019,

announcing the emergency proclamation, however, the President disclaimed the need to declare

a national emergency, stating: “I could do the wall over a longer period of time—I didn’t need to

do this—but I would rather do it much faster. … I just want to get it done faster, that’s all.”

       C.      CBP Has Already Constructed More than 700 Miles of Border Barriers, and
               Congress Has Not Mandated New Border Fencing In More Than a Decade

       94.     CBP has considered its statutory fencing obligations under IIRIRA complete

since 2010, when it had completed 654 miles of primary border fencing (as well as

approximately 50 miles of secondary and tertiary fencing, for a total exceeding 700 miles).

       95.     In 2010, Acting CBP Deputy Commissioner David Aguilar told a House

committee, “[t]he Border Patrol has determined after extensive study that only 652 miles—not

700-miles—of fencing is operationally necessary to secure the southwest border.” Prior to the

Trump administration, DHS had not constructed significant new border fencing since 2010.



                                                 22
             Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 23 of 39



Congress has not mandated new border fencing in well over a decade, since the enactment of the

Secure Fence Act.




       D.      Congress Has Provided the Trump Administration with Funding for More
               Than 175 Miles of New or Replacement Border Wall Construction, the
               Large Majority of Which Remains Uncompleted

       96.     Congress has provided the Trump administration with nearly $3 billion in funding

for border fence construction, the large majority of which remains uncompleted.

       97.     In response to the administration’s fiscal year 2017 budget amendment and

request for supplemental appropriations, the Consolidated Appropriations Act, 2017, provided

CBP with $292 million “for the replacement of primary pedestrian and vehicle fencing in high-

priority areas, using previously deployed and operationally effective designs, such as currently

deployed steel bollard designs … .” Pub. L. No. 115-31, div. F, tit. VI.

       98.     CBP directed those fiscal year 2017 funds to 40 miles of replacement wall

construction in San Diego, El Centro, El Paso, and near Santa Teresa. The constructed was

expedited by the waiver of the National Environmental Policy Act (“NEPA”), Endangered

Species Act (“ESA”), and more than 30 additional laws pursuant to IIRIRA §102(c). See 82




                                                23
               Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 24 of 39



Fed. Reg. 35,984, August 2, 2017 (San Diego); 82 Fed. Reg. 42,829, Sept. 12, 2017 (El Centro);

83 Fed. Reg. 3,012, Jan. 22, 2018 (Santa Teresa).

        99.      In March 2018, Congress provided the Trump administration with an additional

$1.34 billion for secondary fencing replacement in the San Diego sector, new primary fencing in

the Rio Grande Valley sector, and replacement of existing pedestrian fencing in any location

along the southwest border. Consolidated Appropriations Act, 2018, Pub. L. No. 115-141, div.

F, tit. II, § 230.

        100.     CBP estimates that the fiscal year 2018 appropriations bill will fund

approximately 84 miles of border barrier construction.

        101.     DHS issued two waivers under IIRIRA §102(c) to expedite border wall

construction in the lower Rio Grande Valley sector, in Cameron County, Texas (83 Fed. Reg.

50,949), and Hidalgo County, Texas (83 Fed. Reg. 51,472) waiving NEPA, ESA, and more than

30 additional laws.

        102.     DHS has issued two contracts to construct new border wall in the Rio Grande

sector using FY 2018 appropriations, both located in Hidalgo County: FY18 RGV-003 (six

miles) and FY 18 RGV-02 (five segments, eight miles).

        103.     The construction on these two contracts will be the first of the estimated 84 miles

of border wall construction that is funded by the Fiscal Year 2018 Appropriations to be

commenced.

        104.     On February 15, 2019, immediately after issuing the emergency proclamation, the

President signed H.J. Res. 31, Consolidated Appropriations Act, 2019, providing $1.3 billion in

border wall construction.




                                                  24
               Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 25 of 39



        105.     Despite this funding, Congress has not provided additional funding demanded by

President Trump for CBP specified border wall priorities.

        E.       The Emergency Proclamation Will Have Significant Environmental Impacts

        106.     The Trump administration has explained that its $5.7 billion request for border

wall construction will “fund construction of a total of approximately 234 miles of new physical

barrier and fully fund the top 10 priorities in CBP’s Border Security Improvement Plan.” See

Jan. 6, 2019 letter from Russell T. Vought, OMB Acting Director, to Senator Richard Shelby,

Appropriations Committee Chairman.

        107.     These “highest priority border wall miles” total 215 miles. See DHS Press

Release, “Walls Work” (Dec. 12, 2018). Border Patrol has broken down the 215 miles by sector

(Border Patrol divides responsibility for border security operations geographically among nine

sectors, each with its own headquarters). These highest priority areas are: San Diego sector-5

miles; El Centro sector-14 miles; Yuma sector-27 miles; El Paso sector-9 miles; Laredo sector-

55 miles; and Rio Grande Valley sector-104 miles.

        108.     CBP has not clarified what, if any, overlap exists between currently funded border

wall mileage and the 215 miles of “highest priority border wall.” Currently funded new border

wall mileage under the FY 2018 and FY 2019 appropriations bills is, however, limited to the Rio

Grande Valley sector; thus, all of the construction within “highest priority areas” in the San

Diego, El Centro, Yuma, El Paso, and Laredo sectors would not occur but for the unlawful

appropriations reallocation under the emergency proclamation.

        109.     The emergency proclamation provides the administration with access to a total of

$8.1 billion, despite its consistently stated position that $5.7 billion would fund its border wall

priority projects.




                                                 25
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 26 of 39



       110.     The border wall construction funded by the emergency proclamation would

directly harm Plaintiffs and their members. The environmental harm from this construction will

likely, among other concerns, impact threatened and endangered species listed under the

Endangered Species Act, as well as their designated critical habitat; impact lands under federal

jurisdiction, including National Parks, National Forests, National Wildlife Refuges, National

Monuments, and other lands within the National Landscape Conservation System (administered

by the Bureau of Land Management), Wilderness areas, Wild and Scenic Rivers, and other areas

of high environmental value; and impact waters of the United States protected by the Clean

Water Act.

       111.     Of particular concern to Plaintiffs’ core organizational interests, the border wall

construction unlawfully funded by the emergency proclamation would result in severance of

wildlife connectivity and cross-border movement between wildlife populations on either side of

the U.S.-Mexico border. Every endangered jaguar seen in the United States during the species’

nascent recovery in the past two decades, for example, was born in Mexico.

       112.     Given that approximately 700 miles of the southern border already has some form

of fencing on it, the cumulative and irreversible impact of additional border fencing on wildlife

populations becomes ever more heightened with each additional mile of border wall constructed.

Indeed, the border wall construction funded by the emergency proclamation would likely result

in the fencing of the final remaining gaps in at least two Border Patrol sectors.

       113.     The emergency proclamation unlawfully funds as much as 5 miles of border

barrier construction in the San Diego sector, which has an area of responsibility from the Pacific

Ocean eastward to the Imperial County line. The San Diego sector is already heavily fortified,




                                                 26
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 27 of 39



with primary fencing covering 46 of 60 miles, 30 percent of the miles of all secondary and

tertiary fencing along the southwest border, and more than 300 miles of patrol roads.

       114.     The remaining unfenced areas within the San Diego sector are of high

environmental value, and are generally mountainous and rugged, including unfenced areas

within the San Ysidro Mountains and the complex geography of southeastern San Diego County.

This area include two major tributaries of the Tijuana River (Cottonwood Creek and Tecate

Creek), and designated critical habitat under the Endangered Species Act for coastal California

gnatcatcher, Quino checkerspot butterfly, and Arroyo toad.

       115.     The emergency proclamation unlawfully funds as much as 14 miles of border

barrier construction in the El Centro sector, which has an area of responsibility from the Jacumba

Mountains in the west to the Imperial Sand Dunes in the east. The El Centro sector is already

heavily fortified, with primary fencing covering 59 of its 70 miles, and 214 miles of patrol roads.

       116.     The remaining unfenced areas within the El Centro sector are of high

environmental value. The largest unfenced area is in highly rugged and mountainous terrain

within the Jacumba Mountains and their sheer eastern escarpment. This area is designated

critical habitat for the peninsular bighorn sheep pursuant to the Endangered Species Act. 74 Fed.

Reg. 17,288 (April 14, 2009). The Jacumba Mountains “represent the southernmost portion of

the Peninsular Ranges in the United States,” and “represent the only area of habitat connecting

the [U.S. population] with other bighorn sheep populations that occupy the Peninsular Ranges in

Mexico.” Id. at 17,318.

       117.     The emergency proclamation unlawfully funds as much as 27 miles of border

barrier construction in the Yuma sector, which has an area of responsibility from the Imperial

Sand Dunes in the west to the Yuma-Pima County line in Arizona to the east. The Yuma sector




                                                27
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 28 of 39



is already heavily fortified, with primary fencing covering 107 of 126 miles, as well as 209 miles

of patrol roads.

       118.     The remaining unfenced areas within the Yuma sector are located in Arizona, of

high environmental value, and located on rugged and mountainous terrain within the Barry M.

Goldwater Air Force Range and Cabeza Prieta National Wildlife Refuge. The area includes

essential habitat for endangered species including the Sonoran pronghorn.

       119.     The emergency proclamation funds as much as 9 miles of border barrier

construction in the El Paso sector, which has an area of responsibility including the entire border

of New Mexico as well as the two counties within far western Texas. The El Paso sector is

already heavily fortified, with primary fencing covering 166 of 180 miles, as well as 465 miles of

patrol roads.

       120.     The remaining unfenced areas within the El Paso sector are of high environmental

value, including large sections of the remote New Mexico “bootheel.” This area contains

designated critical habitat for jaguar and Chiricahua leopard frog, and is renowned for its wildlife

including mule deer, mountain lions, antelope, and a bison herd.

       121.     The emergency proclamation funds as much as 55 miles of border barrier

construction in the Laredo sector, which has an area of responsibility from Webb County in the

northwest through Zapata County in the southeast. The Laredo sector is lightly fortified, with

primary fencing covering 1 of 171 miles, and 144 miles of patrol roads.

       122.     The Laredo sector is of high environmental value, and like the entire southern

Texas border, the international border is defined by the Rio Grande River.

       123.     The emergency proclamation would unlawfully fund as much as 104 miles of

border barrier construction in the Rio Grande Valley sector, though some of this mileage may




                                                28
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 29 of 39



overlap with border wall construction that has already been funded in prior appropriations bills.

The Rio Grande Valley sector, which encompasses the Lower Rio Grande Valley, is heavily

fortified in some areas, with primary fencing covering 55 of 316 river miles, and 716 miles of

patrol roads.

       124.     The lower Rio Grande Valley is considered one of the most biologically diverse

areas in North America, and is a particularly crucial area for migratory birds. The remaining

unfenced areas in the Rio Grande Valley sector are of high environmental value, and include

protected federal lands including the Lower Rio Grande Valley National Wildlife Refuge and

Santa Ana National Wildlife Refuge, and essential habitat for endangered species including

ocelots.

       125.     The emergency proclamation will have environmental impacts that extend beyond

border wall construction. According to the White House, the emergency proclamation will

reprogram $601 million from the Treasury Forfeiture Fund. These funds are currently used to

combat organized crime.

       126.     INTERPOL and United Nations Environment classify “[a]buse of the

environment [a]s the fourth largest criminal activity in the world. Worth up to USD 258 billion,

it is increasing by five to seven per cent every year and converging with other forms of

international crime” and is “a growing threat to peace, security and stability.” Among these

crimes is illegal wildlife trade, which the GAO has found to range “from $7 billion to $23 billion

annually.”

       127.     The US Department of State classifies wildlife trafficking as a security threat.

According to the GAO, “[t]he United States is one of the world’s largest trafficking markets and

is increasingly becoming a source for illegal wildlife and wildlife products . . . .”




                                                  29
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 30 of 39



       128.     Wildlife trafficking is the second greatest threat to biological diversity after

habitat destruction. Plaintiffs dedicate organizational resources to addressing this threat. They

seek federal and state protections for heavily trafficked species being pushed toward the edge of

extinction and work to enforce those protections once granted. They work domestically and

internationally to improve wildlife protections and raise awareness about the threats to wildlife

from trafficking. Plaintiffs and their members enjoy observing frequently trafficked species in

the wild in their native ecosystems. These species range from well-known animals such as

elephants to numerous fish species, birds, reptiles, and amphibians.

       129.     By redirecting funding used to combat organized criminal networks, on

information and belief funding will be lost for wildlife trafficking investigations and

prosecutions. Of the $1.4 billion in funds identified by the Office of Inspector General available

in the Treasury Forfeiture Fund for general law enforcement, the loss of any of those resources

including up to $601 million for border wall construction, will harm Plaintiffs’ interests. Even if

these funds are not specifically directed to wildlife trafficking, criminal networks often engage in

drug, human, and wildlife trafficking simultaneously. This means a decrease in investigations

and prosecutions is likely to negatively impact wildlife either directly or indirectly. This loss

will harm Plaintiffs and their members’ interests in observing and enjoying frequently trafficked

species in the wild. It will also force Plaintiffs to spend additional organizational resources

toward combatting wildlife trafficking and raising awareness about these criminal activities.




                                                  30
               Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 31 of 39



                                       CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                               Unlawful Proclamation of Emergency

                            Violation of the National Emergencies Act

        130.     Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

        131.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful

Presidential action that is ultra vires.

        132.     The President’s authority to declare an emergency and redirect Congressional

appropriations is limited to statutory delegations of such authority, such as the delegation made

under the NEA.

        133.     The President’s own statements and the totality of surrounding circumstances

show that the proclamation was made as a political negotiating tactic, not a valid “emergency” as

Congress intended under the NEA.

        134.     Because there is no national emergency across the southern border, President

Trump’s February 15, 2019 proclamation of emergency violates the NEA.

        135.     Plaintiffs and their members will suffer irreparable injury if the emergency

proclamation is not declared unlawful, and Plaintiffs and their members have no adequate

remedy at law.

                               SECOND CLAIM FOR RELIEF
                          Unlawful Reallocation of Appropriated Funds

                                    Violation of 10 U.S.C. § 2808

        136.     Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

        137.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful

Presidential action that is ultra vires.



                                                  31
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 32 of 39



       138.     By its plain language, 10 U.S.C. § 2808 does not provide an emergency source of

funding for border wall construction. 10 U.S.C. § 2801(a) defines the term “military

construction” as including “any construction, development, conversion, or extension or any kind

carried out with respect to a military installation … or any acquisition of land or construction of

a defense access road.” In turn, “military installation” means a “base, camp, post, station, yard,

center, or other activity under the jurisdiction of the Secretary of a military department … .”

The vast majority, if not all, of the border wall construction that would be funded by the

proclamation occurs on lands that do not constitute a military installation, and the border wall is

not in any event a military construction project, and thus is now lawfully eligible for emergency

military construction reallocated appropriations.

       139.     In addition, the military construction authority is limited to emergencies “that

require[] use of the armed forces,” and “that are necessary to support such use of the armed

forces.” The dispute over border wall funding falls far short of an emergency requiring use of

the armed services, and in no way supports the armed forces. The emergency proclamation

would in fact turn this requirement on its head, by using the armed forces to engage on a

domestic issue due to the President’s failure to achieve his policy goals through the legislative

and constitutional framework of the appropriations process.

       140.     The broader context of Title 10 also demonstrates that military construction funds

may not be directed to border wall construction. Title 10, Chapter 15 (Military Support for

Civilian Law Enforcement Agencies) is a relatively new addition to the Armed Forces code

addressing the specific circumstances and conditions under which the military may support

domestic law enforcement agencies. Chapter 15 represents a departure from longstanding

separation of military and domestic law enforcement functions, and thus its exceptions must be




                                                 32
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 33 of 39



read narrowly and exclusively. The proclamation unlawfully provides for an emergency

involving military support to domestic law enforcement agencies that has not been previously

authorized by Congress.

       141.     The NEA only provides Presidential authority to invoke provisions under which

Congress has previously considered and addressed the specific emergency at hand. Under

Chapter 15, Congress has directly spoken to the circumstances in which the military may be

called upon to support civilian law enforcement agencies, and limited those circumstances to

emergency situations involving weapons of mass destruction, 10 U.S.C. § 282, and situations

involving bombings of places of public use, government facilities, public transportation systems,

and infrastructure facilities, 10 U.S.C. § 283.

       142.     In addition, Congress has not enacted any NEA emergency provisions under the

Immigration Law Code (Title 8). Congress has, however, specifically considered the urgency of

“an actual or imminent mass influx of aliens arriving off the coast of the United States, or near a

land border,” and did not contemplate the involvement of the military, but instead focused on

cooperation with local law enforcement officials, by allowing the Attorney General to authorize

any State or local law enforcement officer to perform federal immigration duties 8 U.S.C. §

1103(a)(10).

       143.     Under the plain language and broader statutory structure of the military and

immigration codes, the President’s invocation of 10 U.S.C. § 2808 to transfer emergency funds

from military construction housing to border wall construction was unlawful Presidential action.

       144.     Plaintiffs and their members will suffer irreparable injury if the proclamation’s

invocation of 10 U.S.C. § 2808 is not declared unlawful, and Plaintiffs and their members have

no adequate remedy at law.




                                                  33
               Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 34 of 39



                                THIRD CLAIM FOR RELIEF
                          Unlawful Reallocation of Appropriated Funds

                                     Violation of 10 U.S.C. § 284

        145.     Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

        146.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful

Presidential action that is ultra vires.

        147.     10 U.S.C. § 284 (part of Chapter 15) does not provide an emergency source of

funding for border wall construction, but is one example of the types of assistance the military

may provide to civilian law enforcement agencies such as CBP in a non-emergency situation.

See, e.g., 10 U.S.C. § 271; allow use of military equipment and facilities, id. § 272; train and

advise civilian law enforcement officials, id. § 273; and maintain and operate equipment, id. §

274.

        148.     The non-emergency military support authorized under Chapter 15, including

support under 10 U.S.C. § 284, can only be provided to domestic law enforcement agencies

subject to several prior conditions. Such support, for example, may not be provided if it will

adversely affect military preparedness. Id. § 276. In addition, the civilian law enforcement

agency must normally reimburse Department of Defense for the costs of its support. Id. § 277.

        149.     For the above reasons, and for the same reasons described under Claim II, under

the plain language and broader statutory structure of the military and immigration codes, the

President’s invocation of 10 U.S.C. § 284 to transfer emergency funds from counterdrug

activities to border wall construction was unlawful Presidential action.

        150.     Plaintiffs and their members will suffer irreparable injury if the proclamation’s

invocation of 10 U.S.C. § 284 is not declared unlawful, and Plaintiffs and their members have no

adequate remedy at law.


                                                  34
               Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 35 of 39



                               FOURTH CLAIM FOR RELIEF
                          Unlawful Reallocation of Appropriated Funds

                                    Violation of 31 U.S.C. § 9705

        151.     Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

        152.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful

Presidential action that is ultra vires.

        153.     31 U.S.C. § 9705 does not provide an emergency source of funding for border

wall construction.

        154.     Even where the Secretary of Treasury has “discretion” to allocate funds, that

discretion is limited to specified categories of funding, 31 U.S.C. § 9705(a)(2). None of those

categories are applicable here.

        155.     For the above reasons, the announcement that funds from the Treasury Forfeiture

Fund will be reprogrammed for border wall construction was unlawful Presidential action.

        156.     Plaintiffs and their members will suffer irreparable injury if the reprogramming of

funds from 31 U.S.C. § 9705 is not declared unlawful, and Plaintiffs and their members have no

adequate remedy at law.

                                   FIFTH CLAIM FOR RELIEF
                                      Constitutional Violation

                 Violation of the Appropriations Clause of the U.S. Constitution
                                   Article I, Section 9, Clause 7

        157.     Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

        158.     Article I, § 9, cl. 7 of the U.S. Constitution provides that “no Money shall be

drawn from the Treasury, but in Consequence of Appropriations made by Law.”

        159.     Congress’s “power of the purse” has been described as the “most important single

curb” on presidential authority, because it vests the powers of public revenue and public


                                                  35
              Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 36 of 39



expenditures with the people’s representatives in Congress. Edward S. Corwin, The Constitution

and What It Means Today 134 (13th ed. 1975); see Reeside v. Walker, 52 U.S. 272, 291 (1850)

(interpreting the Appropriations Clause to require that “however much money may be in the

Treasury at any one time, not a dollar of it can be used in the payment of any thing not thus

previously sanctioned.”).

       160.     In the absence of applicable statutory authority on which to transfer the military

construction and organized crime appropriations, the proclamation unlawfully reallocates money

without satisfying the requirements of 10 U.S.C. § 2808, 33 U.S.C. § 2293, or 31 U.S.C. § 9705,

and is thus violating the Appropriations Clause.

       161.     Plaintiffs and their members will suffer irreparable injury if this constitutional

violation is not declared unlawful, and Plaintiffs and their members have no adequate remedy at

law.

                                     SIXTH CLAIM FOR RELIEF
                                        Constitutional Violation

                  Violation of the Take Care Clause of the U.S. Constitution
                                     Article II, Section 3

       162.     Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

       163.     Article II of the U.S. Constitution provides that “[t]he executive Power shall be

vested in a President,” and that he or she “shall take Care that the Laws be faithfully executed.”

U.S. Constitution Article II, § 3.

       164.     The President has failed to comply with the requirements and limitations of law

that the Executive Branch is required to “faithfully execute,” including the National Emergencies

Act, 10 U.S.C. § 2808, 10 U.S.C. § 283, and 31 U.S.C. § 9705. Accordingly the President’s




                                                  36
               Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 37 of 39



issuance of the emergency proclamation, as well as agency actions taken or directed to be taken

under the emergency proclamation violate the Take Care Clause.

        165.     Plaintiffs and their members will suffer irreparable injury if this constitutional

violation is not declared unlawful, and Plaintiffs and their members have no adequate remedy at

law.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that this Court:

        1.       Declare the Emergency Proclamation, and agency actions taken or directed to be

taken under the proclamation, including the reallocation and expenditure of funds to construct a

border wall pursuant to that proclamation, are unlawful under the National Emergencies Act;

        2.       Declare the Emergency Proclamation, and agency actions taken or directed to be

taken under the proclamation, including the reallocation and expenditure of funds to construct a

border wall pursuant to that proclamation, are unlawful under the National Emergencies Act and

the invoked emergency provisions including 10 U.S.C. § 2808, 10 U.S.C. § 284, and 31 U.S.C. §

9705;

        3.       Declare the Emergency Proclamation, and agency actions taken or directed to be

taken under the proclamation, including the reallocation and expenditure of funds to construct a

border wall pursuant to that proclamation, are unconstitutional under the Article I Appropriations

Clause and the Article II Take Care Clause;

        4.       Set aside and vacate the Emergency Proclamation, and agency actions taken or

directed to be taken under the proclamation, including the reallocation and expenditure of funds

to construct a border wall pursuant to that proclamation;




                                                   37
            Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 38 of 39



       5.       Enjoin all reallocation of appropriated funds taken under the Emergency

Proclamation;

       6.       Retain jurisdiction to ensure compliance with the Court’s Orders;

       7.       Award Plaintiffs their reasonable costs of litigation, including reasonable

attorneys’ fees, expert fees, and costs; and

       8.       Grant such other and further relief as the Court may deem just and proper.

DATED:          February 16, 2019              Respectfully submitted,

                                               /s/ Brian Segee

                                               Brian Segee (CA Bar No. 200795)(Pro Hac Vice
                                               Pending)
                                               CENTER FOR BIOLOGICAL DIVERSITY
                                               660 S. Figueroa St., Suite 1000
                                               Los Angeles, CA 90017
                                               Tel: (805) 750-8852
                                               Email: bsegee@biologicaldiversity.org

                                               /s/ Tanya Sanerib

                                               Tanya Sanerib (D.C. Bar No. 473506)
                                               CENTER FOR BIOLOGICAL DIVERSITY
                                               2400 NW 80th Street, #146
                                               Seattle, WA 98117
                                               Tel: (206) 379-7363
                                               Email: tsanerib@biologicaldiversity.org

                                               Anchun Jean Su (D.C. Bar No. CA285167)
                                               Howard M. Crystal (D.C. Bar No. 446189)
                                               CENTER FOR BIOLOGICAL DIVERSITY
                                               1411 K Street N.W., Suite 1300
                                               Washington, D.C. 20005
                                               Tel: (202) 849-8399
                                               Email: jsu@biologicaldiversity.org
                                               hcrystal@biologicaldiversity.org

                                               Jason C. Rylander (D.C. Bar No. 474995)
                                               Michael P. Senatore (D.C. Bar No. 453116)
                                               DEFENDERS OF WILDLIFE
                                               1130 17th Street, NW


                                                 38
Case 1:19-cv-00408 Document 1 Filed 02/16/19 Page 39 of 39



                          Washington, DC 20036
                          Tel: (202) 682-9400 x 145
                          Facsimile: (202) 682-1331
                          Email: jrylander@defenders.org
                          Email: msenatore@defenders.org

                          Anthony T. Eliesuson (IL Bar No. 6277427)
                          ANIMAL LEGAL DEFENSE FUND
                          150 South Wacker Drive, Suite 2400
                          Chicago, IL 60606
                          Tel: (707) 795-2533
                          Email: aeliseuson@aldf.org

                          Attorneys for Plaintiffs




                            39
                           Case 1:19-cv-00408 Document 1-1 Filed 02/16/19 Page 1 of 2
                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Center for Biological Diversity; Defenders of Wildlife; and                    DONALD J. TRUMP, in his official capacity as President of
 Animal Legal Defense Fund                                                      the United States; PATRICK M. SHANAHAN, in his official
                                                                                capacity as acting Secretary of Defense; STEVEN T.
                                                                                MNUCHIN, in his official capacity as Secretary of Commerce;
                                                         88888
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________                                                        11001
                                                                                  COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Brian Segee, Center for Biological Diversity, 660 S.
 Figueroa St., Suite 1000, Los Angeles, CA 90017, (805)
 750-8852; Tanya Sanerib, Center for Biological Diversity,
 2400 NW 80th Street, #146, Seattle, WA 98117, (206)
 379 7363; Jean Su and Howard Crystal Center for
 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

 o                          o                                                              PTF    DFT                                                        PTF           DFT

                                                                                                 o1 o1                                                       o4 o4
       1 U.S. Government          3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State                             Incorporated or Principal Place
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                    Federal Tax Suits                                 462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                         870 Taxes (US plaintiff or                        Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                          defendant)                               465 Other Immigration
      230 Rent, Lease & Ejectment                                                         871 IRS-Third Party 26 USC                        Actions
      240 Torts to Land                 Prisoner Petitions                                     7609                                     470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                     Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                              625 Drug Related Seizure of
                                                                                               Property 21 USC 881                      490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                           690 Other                                    850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                      Other Statutes                                    896 Arbitration
      380 Other Personal Property
                                                                                          375 False Claims Act                          899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                                376 Qui Tam (31 USC                               Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                        3729(a))                                      Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                  400 State Reapportionment                     950 Constitutionality of State
                                                Drug Application                          430 Banks & Banking                               Statutes
                                            840 Trademark                                 450 Commerce/ICC                              890 Other Statutory Actions
                                                                                              Rates/etc.                                    (if not administrative agency
                                                                                          460 Deportation                                   review or Privacy Act)
                             Case 1:19-cv-00408 Document 1-1 Filed 02/16/19 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                            o    I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                    o    M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate         or Reopened        from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   United States Constitution, non-statutory review of ultra vires action

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                                YES               NO      ✘
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES     ✘              NO                       If yes, please complete related case form


             02/16/2019
 DATE: _________________________                                                                     /s/ Tanya Sanerib
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                         Case 1:19-cv-00408 Document 1-2 Filed 02/16/19 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                   DISTRICT OFDistrict
                                                   __________  COLUMBIAof __________

     CENTER FOR BIOLOGICAL DIVERSITY,                                 )
    DEFENDERS OF WILDLIFE, ANIMAL LEGAL                               )
              DEFENSE FUND                                            )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
   DONALD TRUMP, in his official capacity as U.S.                     )
  President, PATRICK M. SHANAHAN, in his official                     )
    capacity as acting Secretary of Defense, et al.                   )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Honorable David Bernhardt
                                           Acting Secretary of Interior
                                           DEPARTMENT OF INTERIOR
                                           1849 C St., NW
                                           Washington, D.C. 20240



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CENTER FOR BIOLOGICAL DIVERSITY
                                           ATTN: BRIAN SEGEE
                                           660 S. Figueroa Street, Suite 1000
                                           Los Angeles, CA 90017-3464
                                           bsegee@biologicaldiversity.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                         Case 1:19-cv-00408 Document 1-3 Filed 02/16/19 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                    DISTRICT OFDistrict
                                                    __________  COLUMBIAof __________

     CENTER FOR BIOLOGICAL DIVERSITY,                                   )
    DEFENDERS OF WILDLIFE, ANIMAL LEGAL                                 )
              DEFENSE FUND                                              )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No.
                                                                        )
   DONALD TRUMP, in his official capacity as U.S.                       )
  President, PATRICK M. SHANAHAN, in his official                       )
    capacity as acting Secretary of Defense, et al.                     )
                                                                        )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Attorney for the District of Columbia
                                           U.S. District Attorney’s Office
                                           Judiciary Square
                                           555 4th Street N.W.
                                           Washington, D.C. 20530



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CENTER FOR BIOLOGICAL DIVERSITY
                                           ATTN: BRIAN SEGEE
                                           660 S. Figueroa Street, Suite 1000
                                           Los Angeles, CA 90017-3464
                                           bsegee@biologicaldiversity.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                             Signature of Clerk or Deputy Clerk
                         Case 1:19-cv-00408 Document 1-4 Filed 02/16/19 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                   DISTRICT OFDistrict
                                                   __________  COLUMBIAof __________

     CENTER FOR BIOLOGICAL DIVERSITY,                                 )
    DEFENDERS OF WILDLIFE, ANIMAL LEGAL                               )
              DEFENSE FUND                                            )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
   DONALD TRUMP, in his official capacity as U.S.                     )
  President, PATRICK M. SHANAHAN, in his official                     )
    capacity as acting Secretary of Defense, et al.                   )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Honorable Steven Mnuchin
                                           Secretary of the Department of Treasury
                                           DEPARTMENT OF TREASURY
                                           1600 Pennsylvania Ave., N.W.
                                           Washington, D.C. 20220



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CENTER FOR BIOLOGICAL DIVERSITY
                                           ATTN: BRIAN SEGEE
                                           660 S. Figueroa Street, Suite 1000
                                           Los Angeles, CA 90017-3464
                                           bsegee@biologicaldiversity.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                         Case 1:19-cv-00408 Document 1-5 Filed 02/16/19 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                   DISTRICT OFDistrict
                                                   __________  COLUMBIAof __________

     CENTER FOR BIOLOGICAL DIVERSITY,                                 )
    DEFENDERS OF WILDLIFE, ANIMAL LEGAL                               )
              DEFENSE FUND                                            )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
   DONALD TRUMP, in his official capacity as U.S.                     )
  President, PATRICK M. SHANAHAN, in his official                     )
    capacity as acting Secretary of Defense, et al.                   )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Honorable Kirstjen M. Nielsen
                                           Secretary of Homeland Security
                                           U.S. DEPARTMENT OF HOMELAND SECURITY
                                           245 Murray Lane S.W.
                                           Washington, D.C. 20528



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CENTER FOR BIOLOGICAL DIVERSITY
                                           ATTN: BRIAN SEGEE
                                           660 S. Figueroa Street, Suite 1000
                                           Los Angeles, CA 90017-3464
                                           bsegee@biologicaldiversity.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                         Case 1:19-cv-00408 Document 1-6 Filed 02/16/19 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                   DISTRICT OFDistrict
                                                   __________  COLUMBIAof __________

     CENTER FOR BIOLOGICAL DIVERSITY,                                 )
    DEFENDERS OF WILDLIFE, ANIMAL LEGAL                               )
              DEFENSE FUND                                            )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
   DONALD TRUMP, in his official capacity as U.S.                     )
  President, PATRICK M. SHANAHAN, in his official                     )
    capacity as acting Secretary of Defense, et al.                   )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Honorable Patrick M. Shanahan
                                           Acting Secretary of Defense
                                           DEPARTMENT OF DEFENSE
                                           1000 Defense Pentagon
                                           Washington, D.C. 20301-1000



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CENTER FOR BIOLOGICAL DIVERSITY
                                           ATTN: BRIAN SEGEE
                                           660 S. Figueroa Street, Suite 1000
                                           Los Angeles, CA 90017-3464
                                           bsegee@biologicaldiversity.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                         Case 1:19-cv-00408 Document 1-7 Filed 02/16/19 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                   DISTRICT OFDistrict
                                                   __________  COLUMBIAof __________

     CENTER FOR BIOLOGICAL DIVERSITY,                                 )
    DEFENDERS OF WILDLIFE, ANIMAL LEGAL                               )
              DEFENSE FUND                                            )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
   DONALD TRUMP, in his official capacity as U.S.                     )
  President, PATRICK M. SHANAHAN, in his official                     )
    capacity as acting Secretary of Defense, et al.                   )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) President Donald J. Trump
                                           WHITE HOUSE
                                           1600 Pennsylvania Ave NW
                                           Washington, D.C. 20500




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CENTER FOR BIOLOGICAL DIVERSITY
                                           ATTN: BRIAN SEGEE
                                           660 S. Figueroa Street, Suite 1000
                                           Los Angeles, CA 90017-3464
                                           bsegee@biologicaldiversity.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                         Case 1:19-cv-00408 Document 1-8 Filed 02/16/19 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                   DISTRICT OFDistrict
                                                   __________  COLUMBIAof __________

     CENTER FOR BIOLOGICAL DIVERSITY,                                 )
    DEFENDERS OF WILDLIFE, ANIMAL LEGAL                               )
              DEFENSE FUND                                            )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No.
                                                                      )
   DONALD TRUMP, in his official capacity as U.S.                     )
  President, PATRICK M. SHANAHAN, in his official                     )
    capacity as acting Secretary of Defense, et al.                   )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) UNITED STATES ATTORNEY GENERAL
                                           950 PENNSYLVANIA AVENUE, NW
                                           WASHINGTON, D.C. 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CENTER FOR BIOLOGICAL DIVERSITY
                                           ATTN: BRIAN SEGEE
                                           660 S. Figueroa Street, Suite 1000
                                           Los Angeles, CA 90017-3464
                                           bsegee@biologicaldiversity.org


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 1:19-cv-00408 Document
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FDVHV LV DVVLJQHG DQG RQH FRS\ IRU HDFK GHIHQGDQW VR WKDW \RX PXVW SUHSDUH  FRSLHV IRU D RQH GHIHQGDQW FDVH  FRSLHV IRU D WZR
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          Alvarez et al., v. Trump et al, 1:19-404               El Pasco Co v. Trump et al., 1:19-405
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         2/16/2019                                 /s/ Tanya Sanerib
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